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                                                            6
                                                                 Attorneys for Representative Plaintiffs
                                                            7    and the Plaintiff Class

                                                            8                                   UNITED STATES DISTRICT COURT
                                                            9                               NORTHERN DISTRICT OF CALIFORNIA
                                                            10
                                                            11    FRANCISCO FLORES and GIULIA     )                  Case No. 3:15-cv-03423-WHO
                                                                  FERRARIS, individually, and on  )
SCOTT COLE & ASSOCIATES, APC




                                                            12                                    )
                                                                  behalf of all others similarly situated,           CLASS ACTION
                                                                                                  )
                               1970 BROADWAY, NINTH FLOOR




                                                            13                        Plaintiffs, )                  PLAINTIFFS’ NOTICE OF MOTION AND
                                   THE TOWER BUILDING
                                     ATTORNEYS AT LAW


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                                                                                                  )                  MOTION FOR AN ORDER:
                                                            14    vs.                             )
                                                                                                  )                  (1)      GRANTING FINAL APPROVAL OF
                                                            15                                    )                           THE CLASS ACTION
                                                                  MEDIFIT CORPORATE SERVICES, )                               SETTLEMENT AGREEMENT;
                                                            16    INC., and DOES 1 through 100,   )                  (2)      AWARDING REIMBURSEMENT OF
                                                                  inclusive,                      )                           SETTLEMENT ADMINISTRATION
                                                            17                                    )                           EXPENSES; AND
                                                                                      Defendant.  )                  (3)      ENTERING JUDGMENT OF
                                                            18                                    )                           DISMISSAL WITH PREJUDICE
                                                                                                  )
                                                            19                                    )                  Date:      November 9, 2016
                                                                                                  )                  Time:      2:00 p.m.
                                                            20                                    )                  Room:      Courtroom 2, 17th Floor
                                                                                                  )                  Judge:     Honorable William H. Orrick
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                                                                   Plaintiffs’ Notice of Motion and Motion for Final Settlement Approval; Memorandum of Points and Authorities
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                                                            1                                          NOTICE OF MOTION

                                                            2    TO DEFENDANT MEDIFIT CORPORATE SERVICES, INC. AND ITS ATTORNEYS OF

                                                            3    RECORD:

                                                            4           PLEASE TAKE NOTICE that, on November 9, 2016, at 2:00 p.m., or as soon thereafter as

                                                            5    the matter may be heard before the Honorable William H. Orrick in Room 2 of this Court, 17th

                                                            6    Floor, located at 450 Golden Gate Avenue, San Francisco, California, 94102, Representative

                                                            7    Plaintiffs Francisco Flores and Giulia Ferraris will, and hereby do, move the Court for an Order: (1)

                                                            8    granting final approval of the parties’ class action settlement agreement; (2) awarding

                                                            9    reimbursement of claims administration expenses; and (3) entering Judgment of dismissal with

                                                            10   prejudice.

                                                            11          This motion is based on this Notice, the accompanying Memorandum of Points and
                                                                 Authorities, the Declaration of Jeremy A. Graham, Esq. and exhibits thereto, the complete files and
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                                                            12
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                                                            13   records of this action, and any further briefing and arguments of counsel.
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                                                            14
                                                            15   Dated: October 5, 2016

                                                            16                                                    SCOTT COLE & ASSOCIATES, APC

                                                            17
                                                            18
                                                                                                          By: _/s/ Jeremy A. Graham__________________
                                                            19                                                 Jeremy A. Graham, Esq.
                                                                                                               Attorneys for the Representative Plaintiffs
                                                            20                                                 and the Plaintiff Class
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                                                                                    Plaintiffs’ Notice of Motion and Motion for Final Settlement Approval
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                                                                   V.    THE PARTIES FULLY IMPLEMENTED THE COURT-ORDERED NOTICE
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                                                                         PROGRAM AND THE CLAIMS ADMINISTRATOR’S PAYMENT SHOULD BE
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                                                            1                               MEMORANDUM OF POINTS AND AUTHORITIES
                                                            2       I. INTRODUCTION
                                                            3           On or about June 28, 2016, Plaintiffs Francisco Flores and Giulia Ferraris (“Plaintiffs”) and
                                                            4    Defendant MediFit Corporate Services, Inc. (“Defendant” or “Medifit”) executed a settlement
                                                            5    agreement (“Settlement”)1 which encompasses all claims asserted by the Representative Plaintiffs on
                                                            6    behalf of themselves and a class of 1,152 non-exempt group exercise instructors, personal trainers,
                                                            7    and swim instructors (collectively “Fitness Instructors”) who were employed in California by
                                                            8    Defendant since June 16, 2011.
                                                            9           In the operative Complaint, Plaintiff alleges that Defendant unlawfully denied its non-exempt
                                                            10   Fitness Instructors payment for all wages due, statutorily mandated meal and rest periods, and
                                                            11   reimbursement for business expenses. Plaintiffs sought various forms of relief, not only for
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                                                            12   themselves, but for all other similarly situated Medifit Fitness Instructors employees in California
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                                                            13   during the class period.
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                                                            14          Now, Plaintiffs have agreed to settle their and the Class Members’ claims in exchange for
                                                            15   Defendant’s agreement to pay a gross settlement amount of $1,300,000, which includes the cost of
                                                            16   administering the Settlement, a payment to the California Labor and Workforce Development
                                                            17   Agency (“LWDA”) to settle claims under the Private Attorney Generals Act (“PAGA”),2
                                                            18   enhancement awards to the Representative Plaintiffs, and attorneys’ fees and costs.
                                                            19          The Settlement reflects a great result for the Class, satisfies all the criteria for final settlement
                                                            20   approval under Federal law, and falls well within the range of what constitutes a reasonable
                                                            21   compromise for claims of this nature and size. The notice plan and claims process authorized by this
                                                            22   Court in its July 22, 2016, Order preliminarily approving the Settlement has been successfully
                                                            23   implemented. The positive response of the Class Members to the Settlement – including no
                                                            24   objections and no opt-outs – provides strong support for final settlement approval. For these
                                                            25
                                                                        1
                                                            26                  A true and correct copy of the fully executed settlement agreement, entitled “Medifit
                                                                 Corporate Services, Inc. ‘Wage and Hour’ Class Action Settlement Agreement and Release of
                                                            27   Claims” is attached as Exhibit “A” to the Declaration of Jeremy A. Graham, Esq. in Support of
                                                                 Plaintiffs’ Motion for Final Approval (“Graham Decl.”), filed concurrently herewith. Unless
                                                            28   otherwise  noted, all exhibits cited herein are attached to the Graham Decl.
                                                                         2
                                                                                California Labor Code section 2698, et seq.
                                                                                                                     -1-
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                                                            1    reasons, as set forth more fully below, the Court should grant final approval to this class action
                                                            2    settlement. Plaintiffs seek attorneys’ fees, reimbursement of litigation costs, and enhancement
                                                            3    awards by separate motion.
                                                            4      II.    PROCEDURAL HISTORY AND SETTLEMENT NEGOTIATIONS
                                                            5             Plaintiff Francisco Flores (“Plaintiff”) filed this case on June 16, 2015, in San Mateo
                                                            6    Superior Court on behalf of himself and all other similarly situated personal trainers and group
                                                            7    exercise instructors employed by Defendant in California since June 16, 2011. Plaintiff alleged that
                                                            8    Defendant had a consistent policy of, inter alia, (1) permitting, encouraging, and/or requiring its
                                                            9    Fitness Instructors to work “off-the-clock,” without compensation therefore, (2) permitting,
                                                            10   encouraging, and/or requiring its Fitness Instructors to perform reported hours of work without
                                                            11   compensation therefore, (3) failing to reimburse its Fitness Instructors for business expenses related
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                                                            12   to the operations of Defendant, (4) willfully failing to pay compensation (including unpaid overtime)
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                                                            13   in a prompt and timely manner to the Representative Plaintiff and/or those Class Members whose
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                                                            14   employment with Defendant terminated, (5) willfully failing to provide the Representative Plaintiff
                                                            15   and Class Members with accurate semi-monthly itemized wage statements of the total number of
                                                            16   hours each of them worked and the applicable deductions during each pay period, and (6) willfully
                                                            17   failing to provide meal periods and/or rest periods to Representative Plaintiff and/or Class
                                                            18   Members.3
                                                            19            The basis for these claims is that under Defendant’s “session rate” compensation scheme,
                                                            20   Class Members are only paid for the amount of time spent providing actual fitness instruction and
                                                            21   are not compensated for myriad tasks they must perform before and after fitness instruction such as,
                                                            22   without limitation, researching and writing fitness routines, rehearsing choreography, attending
                                                            23   continuing education and meetings, obtaining certifications, soliciting clients, etc. Plaintiff also
                                                            24   alleged Defendant failed to reimburse him and Class Members for necessary business expenses
                                                            25   including music and other materials for fitness classes, continuing education and certification
                                                            26   attendance fees and travel expenses.4
                                                            27
                                                                          3
                                                            28                    Graham Decl. ¶ 3.
                                                                          4
                                                                                  Graham Decl. ¶ 4.
                                                                                                                       -2-
                                                                         Memorandum of Points & Authorities in Support of Plaintiffs’ Motion for Final Settlement Approval
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                                                            1           On September 15, 2015 Defendant filed a Rule 12(c) Motion for Judgment on the Pleadings,
                                                            2    arguing the Complaint failed to meet minimum pleading standards. The parties met and conferred,
                                                            3    on October 13, 2015, the parties stipulated that Defendant would withdraw its motion and Plaintiff
                                                            4    would file a more detailed First Amended Complaint (“FAC”). Plaintiff filed his FAC on October
                                                            5    19, 2015. Subsequently, on November 17, 2015, Plaintiff propounded his first set of document
                                                            6    requests and interrogatories to which Defendant responded on January 13, 2016. Defendant also
                                                            7    produced over 400 pages or responsive documents.5
                                                            8           Towards the end of 2015, the parties agreed to attempt to resolve the case through mediation.
                                                            9    The parties agreed to utilize the services of well-known and respected mediator Antonio Piazza due
                                                            10   to his experience mediating wage & hour class actions. In anticipation of the mediation session,
                                                            11   Class Counsel requested that Defendant informally produce certain documents and data points which
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                                                            12   would allow Plaintiff to better evaluate the merits and value of the case. These included various
                               1970 BROADWAY, NINTH FLOOR




                                                            13   company policy documents as well as metrics regarding the Plaintiff Class, including the number of
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                                                            14   Class Members, the number of fitness instruction sessions provided during the class period, and the
                                                            15   session rate paid to Class Members for those sessions. Prior to mediation, Class Counsel also
                                                            16   reviewed documents produced by Plaintiff Flores and conducted detailed interviews of several
                                                            17   putative Class Members with regard to their working conditions and the claims asserted against
                                                            18   Defendant.6
                                                            19          Through this formal and informal discovery exchange and Class Counsel’s investigative
                                                            20   efforts, Plaintiff obtained ample information to evaluate the propriety of class certification, the
                                                            21   likelihood of prevailing on the merits, and any potential recovery due to the Class. These
                                                            22   investigative and discovery efforts also apprised Class Counsel of the significant potential litigation
                                                            23   risks facing Plaintiff and the Class Members.7
                                                            24          The parties reached settlement only after extensive, hard-fought adversarial negotiations.
                                                            25   Prior to the mediation, Plaintiff submitted a thorough brief summarizing the evidence obtained and
                                                            26
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                                                                                Graham Decl. ¶ 5.
                                                            28                  Graham Decl. ¶ 6.
                                                                        7
                                                                                Graham Decl. ¶ 7.
                                                                                                                     -3-
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                                                            1    analyzed by Class Counsel, the state of applicable law, and a comprehensive, class-wide damages
                                                            2    analysis. On February 8, 2016, the parties attended a full-day mediation session with Mr. Piazza at
                                                            3    the San Francisco offices of Mediated Negotiations. With Mr. Piazza’s assistance, the parties
                                                            4    reached an agreement in principle to resolve the litigation. Nonetheless, the parties only agreed to
                                                            5    final settlement terms after several months of further negotiations. By May 2, 2016, all parties had
                                                            6    executed the Settlement.8
                                                            7            As part of the Settlement, the parties agreed that Plaintiff Flores would file a Second
                                                            8    Amended Complaint (“2AC”) adding Giulia Ferraris as an additional named plaintiff to bring a
                                                            9    Private Attorneys General Act claim on behalf of similarly situated Aggrieved Employees. The 2AC
                                                            10   also alleges a claim under the Fair Labor Standards Act.9
                                                            11           Class Counsel is of the considered opinion that this Settlement is well within the range of
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                                                            12   reasonableness and is decidedly in the best interest of the Class Members in light of all known facts,
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                                                            13   including the risk of significant delay, defenses asserted by Defendant, and potential appellate
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                                                            14   issues.10
                                                            15
                                                                   III. SUMMARY OF SETTLEMENT TERMS
                                                            16
                                                                         The material terms of settlement are highlighted as follows:
                                                            17
                                                                             Defendant will pay $1,300,000 (“Gross Settlement Fund” or “GSF”);
                                                            18               The Net Settlement Fund (“NSF”) will be calculated by deducting the following:
                                                            19                o Court-approved award for attorneys’ fees, up to 25% of the GSF;
                                                            20                o Court-approved reimbursement of attorneys’ actual costs, up to $20,000;
                                                                              o Enhancements Awards to the Class Representatives, $4,500 for Plaintiff Flores and
                                                            21                  $1,500 for Plaintiff Ferraris;
                                                            22                o Payment for release of PAGA claims in the amount of $5,000;11
                                                            23                o Costs of settlement administration, not expected to be more than $20,500.12

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                                                            26               Graham Decl. ¶ 8.
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                                                                             Graham Decl. ¶ 9.
                                                            27               Graham Decl. ¶ 10.
                                                                         11
                                                                             75% of which will be paid to the California Labor and Workforce Development
                                                            28   Agency12(“LWDA”) and 25% back to the NSF Exhibit “A,” Settlement ¶ 33(e).
                                                                             Exhibit “A,” Settlement ¶ 17.
                                                                                                                      -4-
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                                                            1            The entire Net Settlement Fund will be automatically paid to Settlement Class Members who
                                                            2     do not opt out.13 The parties have agreed, and the Court has preliminarily granted approval, that
                                                            3     Scott Cole & Associates, APC (“SCA”) will serve as Class Counsel14 and Rust Consulting, Inc. will
                                                            4     serve as Settlement Administrator. Any unapproved amount of attorneys’ fees, costs, or settlement
                                                            5     administration costs shall be awarded to a cy pres beneficiary.15
                                                            6            Each member of the California Class will be entitled to receive a pro rata portion of 95% of
                                                            7     the NSF and each member of the FLSA class will be entitled to a pro rata portion of 5% of the NSF.
                                                            8     Settlement awards will be calculated based upon the number of pay periods worked during the
                                                            9     respective Settlement Periods, divided by the total number of pay periods worked by all Class
                                                            10    Members during the respective Settlement Periods. The Settlement Administrator will calculate the
                                                            11    number of pay periods worked by Class Members, the amount to be paid per pay period, and the
                                                                  Individual Settlement Share that each Settlement Class Member is eligible to receive.16 Settlement
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                                                            12
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                                                            13    checks will be valid for 180 days and any uncashed funds remaining thereafter will be tendered to a
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                                                            14    cy pres beneficiary.17
                                                            15     IV. THE SETTLEMENT MERITS FINAL APPROVAL
                                                            16           A.      STANDARD FOR APPROVAL
                                                            17           Federal law strongly favors and encourages settlements, especially in class actions. See
                                                            18    Franklin v. Kaypro Corp., 884 F.2d 1222, 1229 (9th Cir. 1989), cert. denied, 498 U.S. 890 (1990)
                                                            19    (“[I]t hardly seems necessary to point out that there is an overriding public interest in settling and
                                                            20    quieting litigation. This is particularly true in class action suits.”) (internal quotation marks and
                                                            21    citation omitted). When reviewing a motion for approval of a class settlement, the Court should give
                                                            22    due regard to “what is otherwise a private consensual agreement negotiated between the parties,” and
                                                            23    must therefore limit the inquiry “to the extent necessary to reach a reasoned judgment that the
                                                            24    agreement is not the product of fraud or overreaching by, or collusion between, the negotiating
                                                            25
                                                            26
                                                                         13
                                                                         14
                                                                                 Exhibit “A,” Settlement ¶¶ 10-12.
                                                            27                   Exhibit “A,” Settlement ¶ 3.
                                                                         15
                                                                         16
                                                                                 Exhibit “A,” Settlement ¶ 60.
                                                            28                   Exhibit “A,” Settlement ¶ 33(c)-(d).
                                                                         17
                                                                                 Exhibit “A,” Settlement ¶ 51.
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                                                            1     parties, and that the settlement, taken as a whole, is fair, reasonable and adequate to all concerned.”
                                                            2     Officers for Justice v. Civil Service Comm’n, 688 F.2d 615, 625 (9th Cir. 1982).
                                                            3             To approve a proposed settlement of a class action under Rule 23(e) of the Federal Rules of
                                                            4     Civil Procedure, the Court must find the proposed settlement “fair, adequate and reasonable,”
                                                            5     recognizing that “it is the settlement taken as a whole, rather than the individual component parts,
                                                            6     that must be examined for overall fairness.” Staton v. Boeing Co., 327 F.3d 938, 960 (9th Cir. 2003)
                                                            7     (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)). Although Rule 23
                                                            8     provides no precise formula for making this determination, the Ninth Circuit has identified several
                                                            9     factors to be considered. These factors include: (1) the strength of the case; (2) the size of the claims
                                                            10    and amount offered to settle them; (3) the risk, expense, complexity and likely duration of further
                                                            11    litigation; (4) the stage of the proceedings, i.e., whether the plaintiffs and their counsel have
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                                                            12    conducted sufficient discovery to make an informed decision on settlement; (5) whether the class has
                               1970 BROADWAY, NINTH FLOOR




                                                            13    been fairly and adequately represented during settlement negotiations by experienced counsel; and
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                                                            14    (6) the reaction of the class to the proposed settlement. See Id. at 1026 (noting that the relative
                                                            15    importance of each of these factors will depend on the circumstances of each case); see also
                                                            16    Schwarzer, et al., Cal. Practice Guide: Federal Civil Procedure Before Trial (The Rutter Group) §
                                                            17    10:849 (rev. #1 2008) (listing factors). Here, all of the relevant factors weigh strongly in favor of
                                                            18    final approval.
                                                            19
                                                                          B.        THE PERTINENT FACTORS FAVOR FINAL APPROVAL
                                                            20
                                                                                    1.     The Risk, Expense, Complexity, and Likely Duration of Continued
                                                            21                             Litigation Favor Final Approval
                                                            22            First, the Court should weigh the benefits of the Settlement against the expense and delay
                                                            23    involved in achieving an equivalent, or potentially more, or less, favorable result at trial. Young v.
                                                            24    Katz, 447 F.2d 431, 433 (5th Cir. 1971); Munoz v. BCI Coca-Cola Bottling Co. of L.A., 186 Cal.
                                                            25    App. 4th 399 (2010) (quoting Kullar v. Foot Locker Retail, Inc., 168 Cal. App. 4th 116, 129 (2008)
                                                            26    (“[T]he trial court may not determine the adequacy of a class action settlement ‘without
                                                            27    independently satisfying itself that the consideration being received for the release of the class
                                                            28

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                                                            1     members’ claims is reasonable in light of the strengths and weaknesses of the claims and the risks of
                                                            2     the particular litigation.’”).
                                                            3              The policy under California law that favors and encourages settlement of class actions and
                                                            4     other complex cases is applicable here. California jurists recognize “an overriding public policy
                                                            5     favoring settlement of class actions.” Ferguson v. Lieff, Cabraser, Heimann & Bernstein, 30 Cal. 4th
                                                            6     1037, 1054 (2003) (Kennard, J., concurring) (citing Franklin, 884 F.2d at 1229 (“[P]ublic policy
                                                            7     favor[s] the compromise and settlement of disputes”)); see also In re General Motors Corp. Pick-up
                                                            8     Truck Fuel Tank Products Liability Litig., 55 F.3d 768, 805 (3rd Cir. 1995). The alternative to a
                                                            9     class action – i.e., individual litigation – could tax private and judicial resources over a period of
                                                            10    years. Moreover, and alternatively, given the relatively modest amount of damages each Class
                                                            11    Member allegedly incurred, such litigation would be cost-prohibitive even for those with the
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                                                            12    finances, sophistication, and tenacity to secure individual legal representation, leaving the allegedly
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                                                            13    harmed employees with no recourse and allowing the employer’s alleged violations to continue
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                                                            14    unremedied and unabated.
                                                            15             This Settlement, on the other hand, provides all Class Members, regardless of their means, or
                                                            16    the size of their individual claims, the opportunity for a monetary recovery in a prompt and efficient
                                                            17    manner, without the risk of the Court denying class certification and the recovery of nothing at all.
                                                            18    The Settlement represents a fair compromise of the issues in this case, based on the following risks:
                                                            19            The uncertainty of class certification, including the possible result of no recovery whatsoever
                                                                           for the unnamed Class Members;
                                                            20
                                                                          Defendant’s likely arguments that Plaintiffs’ claims are not typical of the Class and that they
                                                            21             are inadequate class representatives;
                                                            22            Defendant’s likely argument that the expense reimbursement claims raise individualized
                                                                           issues, citing lack of documentation and variances in expenses;
                                                            23
                                                                          The relative lack of written evidence for the Class Members’ missed meal and rest periods
                                                            24             and uncompensated time spent performing pre- and post-session duties, other than their
                                                                           declarations;
                                                            25            Even if the class certification is granted, the possibility that the Court would agree with
                                                                           Defendant’s likely argument that employers need only make breaks available, and have no
                                                            26             obligation to ensure that breaks were actually taken. See Brinker Restaurant Corp. v.
                                                                           Superior Court, 53 Cal.4th 1004 (2012);
                                                            27
                                                                          Defendant’s likely argument that, even if found liable for unpaid wages, meal period
                                                            28             violations and/or failure to pay overtime compensation, the Class lacked sufficient evidence
                                                                           to legally establish their damages;
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                                                                         Defendant’s likely argument that Plaintiffs’ estimate of the maximum damages is vastly
                                                            1             overstated and does not comport with the actual damages suffered by Class Members;
                                                            2            The possibility this Court might find that California Labor Code § 203 requires a “willful”
                                                                          failure to pay wages and the difficulties Plaintiffs face in establishing that “willful” factor;
                                                            3            Defendant’s likely argument that Plaintiffs could not show that there was an “injury”
                                                            4             entitling the Class to recovery under California Labor Code § 226; and
                                                                         The possibility that, as in any litigation, the Class could proceed all the way to trial and be
                                                            5
                                                                          victorious but still find themselves unable to actually enforce their judgment owing to
                                                            6             Defendant’s insolvency or other unforeseen intervening circumstances.18

                                                            7             Finally, as this Court knows, “the law wisely favors settlement,” particularly in class actions
                                                            8     and other complex cases where substantial resources can be conserved by avoiding the time, cost and
                                                            9     rigors of formal litigation. See Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir.
                                                            10    1992); Staton, 327 F.3d at 952 (“rejection of a settlement creates not only delay but also a state of
                                                            11    uncertainty on all sides, with whatever gains were potentially achieved for the putative class put at
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                                                            12    risk”). These concerns apply here, where without the class action procedure many of the Class
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                                                            13    Members would not be able to find representation and would not obtain relief. The Settlement
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                                                            14    guarantees all Class Members the opportunity for monetary recovery, commensurate with the harms
                                                            15    alleged, promptly and efficiently.
                                                            16                    2.       The Amount Offered in Settlement Favors Final Approval
                                                            17            The $1,300,000 value of the GSF provides for fair compensation for the wage and hour
                                                            18    claims herein, accruing to the benefit of a relatively modest class of 1,152 members. See West v.
                                                            19    Circle K Stores, Inc., 2006 U.S. Dist. LEXIS 76558, *15 (E.D. Cal. Oct. 20, 2006). The settlement
                                                            20    takes into consideration the risk factors discussed above, and represents a reasonable portion of
                                                            21    Defendant’s maximum exposure, discounted by the risks of losing certification and/or liability, the
                                                            22    expense of further litigation and the benefit of providing Class Members with a guaranteed recovery
                                                            23    in the very near future.
                                                            24
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                                                                          18
                                                                                  Graham Decl. ¶ 22.
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                                                                                 3.       The Extent of Discovery Completed and the Stage of the Proceedings
                                                            1                             Support the Settlement
                                                            2            Courts also consider the extent of completed discovery and the stage of the proceedings in
                                                            3     determining the fairness, adequacy and reasonableness of a settlement. See Weeks v. Kellogg Co.,
                                                            4     2011 U.S. Dist. LEXIS 155472, *55-56 (C.D. Cal. Nov. 23, 2011); Bellows v. NCO Fin. Sys., 2008
                                                            5     U.S. Dist. LEXIS 103525, *8 (S.D. Cal. Dec. 2, 2008). Here, Class Counsel interviewed numerous
                                                            6     Class Members, in addition to the named Plaintiffs, regarding the claims alleged herein and carefully
                                                            7     reviewed hundreds of pages of Medifit’s policies and procedures, including the employee handbook,
                                                            8     policy and procedure manual, and myriad internal memoranda. In total, Defendant produced over
                                                            9     400 pages of documentary evidence.19 Additionally, Defendant informally produced essential class
                                                            10    data points prior to the mediation session.20 The parties had a “clear view of the strengths and
                                                            11    weaknesses of their cases” at mediation, and the settlement amount and terms were reached based on
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                                                            12    the parties’ informed analysis of the strengths and weaknesses of this case. Bellows, 2008 U.S. Dist.
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                                                            13    LEXIS 103525 at *8 (internal punctuation omitted).
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                                                            14
                                                            15                   4.       The Experience and Views of Class Counsel Favor Final Approval
                                                            16           Class Counsel possesses extensive knowledge and expertise of the legal issues affecting the
                                                            17    Class, is very aware of the attendant risks of class action litigation, and is otherwise well-suited to
                                                            18    evaluate the Settlement.21 The endorsement of qualified and well informed counsel of a settlement as
                                                            19    fair, adequate and reasonable is entitled to significant weight. See Bellows, 2008 U.S. Dist. LEXIS
                                                            20    103525 at *8 (citing Boyd v. Bechtel Corp., 485 F.Supp. 610, 622 (N.D. Cal. 1979) (“The
                                                            21    recommendations of plaintiffs’ counsel should be given a presumption of reasonableness.”)); West,
                                                            22    2006 U.S. Dist. LEXIS 76558 at *17-18 (in class action settlements, the opinions of counsel should
                                                            23    be given considerable weight both because of counsel’s familiarity with the litigation and previous
                                                            24    experience with similar cases). Based on its decades of experience in wage and hour, and other, class
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                                                                         19
                                                                         20
                                                                                 Graham Decl. ¶ 5.
                                                            28                   Graham Decl. ¶ 6.
                                                                         21
                                                                                 Exhibit “C,” SCA’s Professional Resume; Graham Decl. ¶¶ 24-28.
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                                                            1     actions, Class Counsel supports the Settlement as fair, adequate, reasonable and, most importantly,
                                                            2     in the best interests of the Class.
                                                            3
                                                            4                     5.       The Class Members’ Reaction Favors Final Approval
                                                            5             Here, the Class Members’ responses to the preliminarily approved Settlement support its

                                                            6     approval. The notice was provided in a manner designed to give the best notice practicable, in

                                                            7     accordance with the terms of the Settlement Agreement, and fully protected the due process rights of

                                                            8     the Class Members. Not a single Class Member has opted out and not a single objection was

                                                            9     made to the Settlement.22 This “provides further support for final approval of the Proposed

                                                            10    Settlement . . . [and] raises a strong presumption that the terms of a proposed class settlement action

                                                            11    [sic] are favorable to the class members.” Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221
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                                                            12    F.R.D. 523, 529 (C.D. Cal. 2004) (emphasis added); Barcia v. Contain-A-Way, Inc., 2009 U.S. Dist.
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                                                            13    LEXIS 17118, *12 (S.D. Cal. Mar. 6, 2009) (“the absence of any objector strongly supports the
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                                                            14    fairness, reasonableness, and adequacy of the settlement.”). In fact, “[t]he lack of objections to the

                                                            15    settlement is perhaps the most significant factor weighing in favor of settlement.” West, 2006 U.S.

                                                            16    Dist. LEXIS 76558 at *19-20. After full disclosure of the Settlement terms, the Class Members’

                                                            17    response to the Settlement fully supports the conclusion that it is fair, adequate and reasonable. After

                                                            18    all relevant factors are duly considered, the Settlement merits final approval by this Court.

                                                            19
                                                            20      V.    THE PARTIES FULLY IMPLEMENTED THE COURT-ORDERED NOTICE
                                                                          PROGRAM AND THE CLAIMS ADMINISTRATOR’S PAYMENT SHOULD BE
                                                            21            APPROVED
                                                            22            Applicable statutory and case law vests the Court with broad discretion in fashioning an
                                                            23    appropriate notice program. Fed. R. Civ. P. 23(e)(1). “The class notice must be (1) reasonably
                                                            24    calculated to apprise interested parties of the pendency of the action and afford them an opportunity
                                                            25    to present their objections and (2) must satisfy the content requirements of Rule 23(c)(2)(B).”
                                                            26    Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). In connection with its
                                                            27
                                                                          22
                                                            28                    Exhibit “B,” Declaration of Chris Pikus for Rust Consulting, Inc. (“Pikus Decl.”) ¶
                                                                  12.
                                                                                                                       -10-
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                                                            1     Order granting preliminary approval of the Settlement, this Court approved the notice program and
                                                            2     form of notice, both of which have now been fully implemented.23
                                                            3            For the complete notice and administration project, including the future processing of claim
                                                            4     forms, the Claims Administrator is requesting payment of $20,500, which includes all work to
                                                            5     conclude its duties and responsibilities pursuant to the Settlement. This amount is reasonable given
                                                            6     the thoroughness of the services provided and results obtained. Therefore, this Court should award
                                                            7     the Claims Administrator the full amount requested, to be paid out of the GSF as called for in the
                                                            8     Settlement.
                                                            9
                                                            10     VI. FINAL CLASS CERTIFICATION IS APPROPRIATE

                                                            11           In connection with final approval, the Court should reaffirm its preliminary finding that the
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                                                            12    proposed Settlement Class is a proper class for settlement purposes. See Manual for Complex
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                                                            13    Litigation (4th ed. 2004) § 21.632; Amchem Prods. v. Windsor, 521 U.S. 591, 620 (1997). The Court
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                                                            14    can certify a settlement class where the Court has determined that the proposed class and proposed

                                                            15    class representatives meet the four prerequisites in Rule 23(a) – numerosity, commonality, typicality,

                                                            16    and adequacy of representation – and one of the three requirements of Rule 23(b). See also Hanlon,

                                                            17    150 F.3d at 1019. Certification of a class action for monetary relief requires a showing that

                                                            18    “questions of law or fact common to class members predominate over any questions affecting only

                                                            19    individual members, and that a class action is superior to other available methods for fairly and

                                                            20    efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). In certifying a settlement class,

                                                            21    however, the Court is not required to determine whether the action, if tried, would present intractable

                                                            22    management problems, “for the proposal is that there be no trial.” Amchem, 521 U.S. at 620; see also

                                                            23    Fed. R. Civ. P. 23(b)(3)(D).

                                                            24           In the Court’s Order preliminarily approving the Settlement, this Court concluded that the

                                                            25    requirements of settlement class certification under Rule 23 had been met. The parties’ disagreement

                                                            26    as to the propriety of a contested litigation class in this case does not preclude certification of the

                                                            27
                                                            28
                                                                         23
                                                                                 See, generally, Exhibit “B,” Pikus Decl.
                                                                                                                      -11-
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                                                            1     Settlement Class as “there [will] be no trial.” Amchem, 521 U.S. at 620. Consequently, the Court
                                                            2     should now finally certify the proposed Settlement Class.
                                                            3
                                                            4     VII.    CONCLUSION

                                                            5             For the foregoing reasons, Plaintiffs respectfully request that this Court grant final approval

                                                            6     of the Settlement, certify the proposed Settlement Class, award reimbursement of claims

                                                            7     administration expenses in the amount of $20,500, and enter Judgment of dismissal with prejudice.

                                                            8
                                                            9     Dated: October 5, 2016
                                                            10                                                       SCOTT COLE & ASSOCIATES, APC
                                                            11
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                                                                                                             By: _/s/ Jeremy A. Graham_______________
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                                                                                                                  Attorneys for the Representative Plaintiffs
                                                            14                                                    and the Plaintiff Class
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